 Case 1:07-cr-00018-SPM-AK             Document 156     Filed 04/03/08   Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                        Case No.:1:07cr18-SPM

BROOKE ERIN THOMSON,

           Defendants.
_____________________________/

            ORDER GRANTING MOTION TO CONTINUE SENTENCING

       This cause comes before the Court on the “Brooke Erin Thomson’s

Second Motion to Continue Sentencing” (doc. 155). As grounds, Defendant

states that she would like to continue her cooperation with the Government by

testifying at the trial of a co-defendant that is scheduled for April 28, 2008.

Additionally, Defendant requests 45 days to complete meetings with a mental

health professional who is scheduled to testify at Defendant’s sentencing

hearing. The Government does not oppose the granting of this motion to

continue.

       Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

       1.      The Defendant’s motion to continue (doc. 155) is hereby granted.

       2.      Sentencing is reset for Monday, June 2, 2008 at 1:30 p.m. in

               Gainesville, Florida.

       DONE AND ORDERED this third day of April, 2008.



                                         s/ Stephan P. Mickle
                                       Stephan P. Mickle
                                       United States District Judge
